 

 

Case 2:11-Cr-00166-LRH-CWH DO_Cument 117 Filed 01/06/16 Page 1 of 21

Ao usc (R¢v. 09/1 l) Am¢n¢nd Judgment in n criminal case (NOTE: ld¢mify vas¢s with Asl¢risks (’))

 

UNITED STATES DlSTRlCT COURT

Distriq't of Nevada
§ SECOND
UNITED STATES OF AMERICA ` AMENDED JUDGMENT IN A CRIMINAL CASE
V.
DIPAK DESAI, M.D. Case Nurnber: 2:1 l-CR-l66-LRH-CWl-I-l
' USM Number: 46332-048

Date of OriEinal Judgment: 7/14/\5 § ' h Wri ht R ' d
(Or Date of ast Amended Judgmenti § e en ant s orney
Reason for Amendment:

l:l Correction of Sentence on Remand (18 U.S.C. § 3742(0(|) and (2)) l:l %<§t§i(f;§)ation of Supervision Conditions (18 U.S.C. §§ 3563(¢) or

' ' ’ . . ' ’ fl d crm of m risonment for Extraordinary
Cl Reductton of Sentence for Changed Ctrcumstances(Fed. R. Cnm P 3$(h)): I:\ yngdé%%agglrltigg ancg<s)(s,e‘s?`l 8 usi g 3582(¢)(1))

§ ' ` ` ' d T f ` onm nt r R troactive
l:l Correction of Sentence by Sentencing Coun (Fed. R. Crim. P. 35(a)) m W§%%Y£€ngf§gmggsseemc;rgng m%i:fines 18 § 86 §
c

( ) ' Correction of sentence for Clerical Mistake (Fed. R. Crim. P. 36) l l:l Direct Motion to District Court l’ursuant n 28 U.S.C. § 2255 or
l'..'.l is u.s.c. § 3559(¢)(7)

§ *(X) Modification of Restitution Order ( 18 U.S.C. § 3664)

THE DEFENDANT:
(X) pleaded guilty to count(s) l grid 24 of the indictment filed 4/27/11

C| pleaded nolo contendere to count(s)
which was accepted by the court.

 

 

Cl was found guilty on countss)
Aher a plea of not gun ty.

 

The defendant is adjudicated guilty of these offenses:

Ti§lg & §ggtign Ngtgrg of foensg O§[ensg Ended §_Ln_t
18 U.S.C. 371 Conspiracy to Commit Health Care Fraud 2/2008 l
18 U.S.C. 1347 and 2 Health Care Fraud, Aidingg and Abetting l/29/O8 24

The defendant is sentenced as provided in pages 2 through of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

|:l The defendant has been found not guilty on count(s) '

(X) Count(s) 2 - Z§, 25, god §§ are dismissed on the.motion of the United States.

lt is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all lines, restitution, costs, and special assessments imposed by this judgment are fully paid. lf ordered to pay restitution,
the defendant must notify the court and United States Attorney of material changes in economic circumstances

 

 

 

 

 

 

 

7/9/ 15
\/ F|LED RECE|VED Date I osit` n of Judgment

_ ENTERED __ SERVED ON

Mummms_mmr_m
_|AN 0 2315 Name d Ti le of Judge
Mk
Da
CLERK US DlSTRlCT COURT
- DIS lCT OF NEVADA
B¥: DEPUTY

 

 

 

 

__‘

Case 2:11-Cr-0016_6-LRH-CWH D_c_)§g,ument 117 Filed 01/_06/16 Page 2 of 21

AO 2458 (Rev. 09/1 I) Judgment in a Criminal Case
va 2 ' '"Ls°"m¢i¢ ,

    

winner ~ _2_.J_

DEFENDANT; Dii>Ai< DEsAi, M.D.

cAsE NuMBi=.R; 2:1 i-cR.i 66-LRH-cwH.i
1MPR1 sloNMENT

'l`he defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: SIXTY (60) MONTHS AS TO COUNT l ;1SEVENTY ONE (71) MONTHS AS TO COUNT 24, TO
RUN CONCURRENT AND CONCURRENT TO Nevfda state case No. C-265107; less 941 days time credit as so
ordered by the Court pursuant to Sentencing Guideli eSGl.$(b).
(X) The court makes the following recommendations to the Bureau of Prisons:

The Court recommends the defendant continue to serve his sentence at the state prison facility.

Cl The defendant shall surrender to the United States Marshal for this district:
lIl at ______ Cl a.m. C| p.m. on

 

Cl as notified by the United States Marshal.
E| The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

E| before 2 p.m. on

 

El as notified by the United States Marshal.

 

|:l as notified by the Probation or Pretrial Services Officc.

RETURN

l have executed this judgment as follows:

Defendant delivered on to 3

, with a certified copy of thisjudgment.

 

UNITED S'I`A'I`ES MARSHAL

By
DEPUTY UNTiED sTATEs MARSHAL

 

(X) The defendant is remanded to the custody of the United !§tates Marshal.
|
|

 

 

Case 2:11-Cr-00166-LRH-CWH Document 117 Filed 01/06/16 Pacie 3 of _21

AO 24SB (Rev. 09/| l) Judgment in a Crimina| Case
mt 3 - Sii- ised Release

   

iudgmie¢i- inge §§ r § W
DEFENDANT: DlPAK DESAI, M.D.
CASE NUMBER: 2:1 l-CR-l66-LRH~CWH'1

SUPERVI ED RELEASE

Upon release from imprisonment, the defendant shall be on supervi release for a term of: 3 YEARS AS ‘I`O COUNT l; AND 3 YEARS AS
TO COUNT 24 TO RUN CONCURRENT. ‘

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not coirimit another federal, state or local crime `

The defendant shall not unlawfully possess a controlled substance The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within l5 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court. not to exceed 104 tests annually. `

(X) 'l`he above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future substance
abuse. (Check, if applicable.)

(X) The defendant shall not possess a firearm, ammunition, d

 

ctive device, or any other dangerous weapon. (Checlc. if applicable.)

 
  
   
  

(X) The defendant shall cooperate in the collection of DNA as irected by the probation officer. (Checl¢. if applicable.)

Cl The defendant shall comply with the requirements of the S xi Off'ender Registration and Notification Act (42 U.S.C. § 169.01, er seq.)
as directed by the probation officer, the Bureau of l’risons, o any state sex offender registration agency in which he or she residcs, works,
is a student, or was convicted of a qualifying offense. (Ch ]t, if applicable.)

Cl The defendant shall participate in an approved program fo domestic violence. (Checlc. if applicable )

lfthisjudgment imposes a fine or restitution, it is a condition f supervised release that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment

The defendant must comply with the standard conditions th tihave been adopted by this court as well as with any additional conditions
on the attached page. §

STANDARD CONDI iONS OF SUPERVISION

l) the defendant shall not leave the judicial district without th permission of the court or probation officer;

2) the defendant shall report to the probation officer in a m er and li’equency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the pr b'ation officer and follow the instructions of the probation officer;

4) the defendant shall support his or her dependents and meet ther family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten ays prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol a d: shall not purchase, possess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled su stances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled su stances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a

felony, unless granted permission to do so by the probation officer;

lO) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;_

l l) the defendant shall notify the probation officer within severity~two hours of being arrested or questioned by a law enforcement ofticer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

l3) as directed by the probation officer, the defendant shall not fy third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall pefmit the probation officer to make such notifications and to confirm the
defendant's compliance with such notification requirement}

 

 

 

Case 2:11-Cr-00166-Llel_;_Q_\_/_\/ljl_ Do|giiment 117 Filed 01/06/16 Page.4 0f21

A0 2458 (Rev. 09/| I)Judgmeni in a Criminal Case
Wheet 3C Su-crvised Releasev""

j Judenl’e 4

     

DEFENDANT: DlPAK DESAI, M.D.
CASE NUMBER: 2:1 l-CR-l66-LRH-CWH-l

SPECIAL CONDITIONS OF SUPERVISION

l. Mgam - The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit,
or negotiating or consummating any financial contracts, without the approval of the probation office.

2. Access to Fin n i l lnf rm i n ~ The defendant sh§all provide the probation office access to any requested financial
information, including personal income tax retums, ai.§thorization for release of credit information, and any other business
or financial information in which the defendant has a control or interest.

3. Employment Resgiction ~ The defendant shall be rest§icted from engaging in employment, consulting, or any association
with any medical business for a period of 3 years. §
l .
4. Warrantle s S h - The defendant shall submit to the search of his person, and any property, residence, or automobile
under his/her control by the probation office, or any other authorized person under the immediate and personal supervision
of the probation office without a search warrant to ensure compliance with all conditions of releasc.

5. Mggw_n - The defendant shall not possess, have under his control, or have access to any firearm, explosive
device, or other dangerous weapons, as defined by federal, state or local law.

6. e rt to Probation f ft r R l a fr m Cust - The defendant shall report in person to the probation office in the
District to which the defendant is released within 72 ours of release from custody.
§
l
§

Upon a finding of a violation of probation or supervised release, l understand that the court may ( l) revoke supervision, (2)
extend the term of supervision, and/or (3) modify the conditions of supervision,

These conditions have been read to me. l fully understand the conditions and have been provided a copy of them.

 

 

Defendant's signature Date

 

 

Signature of the U.S. Probation Officer/Designated Witness g Date

 

 

Case 2:11-Cr-00166-LRH-CWH Dolc'ument 117 Filed 01/06/16 Page 5 of 21

AO 245B (Rev. 09/| l) Judgment in a Criminal Case
Sheet 5 - (Mrimid7 Penalt77s 7

       

gm ge §- of §§

DEFENDANT: DlPAK DEsAi, M.D. §
cAsE NUMBER; 2:1 i-cR-iize-LRJ-i.cwi-i-i

CRIMlNAL MONIETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

____¢__Ass¢ssm vt §in_e Bss.ti.issisa
TOTALS $ 100.00 (Count 1) $g WAIVED $ 2,213,550.00
100.00 (Count 24) .
Total: $200.00
Cl The determination of restitution is deferred until . An AmendedJudgmenl in a Criminal Case (A0 245C)

 

will be entered after such determination.

C] The defendant must make restitution (including comm§iinity restitution) to the following payees in the amount listed below.

lf the defendant makes a partial payment, each payee shall eeive an approximately proportioned payment, unless specified otherwise
iri the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
paid before the United States is paid.

!Lnu_o_&m law B_§tit_\itiaa£;dsm B___tx_£¢__s_riori or mm ¢

*RESTITUTION LIST AND AMOUNTS
ATTACHED PER COURT ORDER I#ll6l
FlLED 12/22/15.

Clerk, U.S. District Court

Attn: Financial Office

Case No. 2:ll-CR-166-l..Rl-I-CWH-l
333 Las Vegas Boulevard, South

Las Vegas, NV 89101

$2,213,550.00

roTALs s § 32213 .oo

Cl Restitution amount ordered pursuant to plea agreemeiit $
l
Cl The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
before the fifteenth day alter the date of thejudgment, pursuant to 18 U.S.C. § 3612(f). A|l of the payment options on Sheet
6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Cl The court determined that the defendant does not have the ability to pay interest and it is ordered that:
El the interest requirement is waived for the Cl fine C| restitution.
Cl the interest requirement for the El fine |I| restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 1 10, l lOA, and 1 13A of Title 18 for offenses committed on or alter
September 13, 1994, but before Apr1123, 1996.

 

 

Case 2:11-Cr-00166-LRH-(_3WH Do_Ciiment 117 Filed 01/06/16 Page 6 of 21

  

AO 2458 (Rev. 09/| l) judgment in a Criminal Case
Sheetmef$chedulPa ments 7 7 77 7 77 7 7 77 7 7 7 n ii j

iuayii¢ni -g¢ _L_or_e_

  
      

DEFENDANT: DIPAK DESAI, M.D.
CASE NUMBER: 2:1 l-CR-166-LR.H-CWH.1
SCHEDULE;OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A (X) Lump sum payment of $ 2,213,7§9.99 due immediately, balance due
E| Not later than , or

C| in accordance L'.l C, Cl D, L'.l E, or (X) F below; or

B Cl Payment to begin immediately (may be combined with Cl C, 13 D, or Cl l`~` below); or

|

C Cl Payment in equal ______ (e.g., wi§ekly, monthly, quarlerly) installments of $ over a period
of _____ (e.g., months oryears), to commence (e.g., 30 or 60 days) after the date of this
judgment; or

D C| Payment in equal (e.g., w dkly, monthly, quarrerly) installments of $ over a period
of ___ (e.g., months or years), t |commence (e.g.. 30 or 60 days) alier release from

imprisonment to a term of supervision; or l §

E El Payment during the term of supervised releas ivill commence within (e.g.. 30 or 60 days) alier release
from imprisonment T he court will set the pa iinent plan based on an assessment of the defendant’s ability to pay
at that time; or '

F (X) Special instructions regarding the payment of criminal monetary penalties:
Any unpaid balance shall be paid at a monthly rate of not less than 10% of any income earned
during incarceration and/or gross income while on supervision, subject to adjustment by the Court
based upon ability to pay.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment payment of criminal monetary penalties is due during
imprisonment All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ lnmate Financial
Responsibility Program, are made to the clerk of the court §

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
|Zl Joint and Several

Defendant and Co-Defendant Naines and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate

CJ The defendant shall pay the cost of prosecution
EJ The defendant shall pay the following court cost(s):

(X) The defendant shall forfeit the defendant’s interest in the following property to the United States:
SEE ATTACHED

Payments shall be applied in the following order: ( 1 ) assessment (2) restitution principal. (3) restitution interest, (4) fine principal, (5) fine interest,
(6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
l

 

 

\000\)0\0|&\»3|~)

~:E>`

Case 2:11-Cr-Q_0166-LRH-CWH Doci_iment11_7' Filed 01/06/_1§_ Page 7 of 21

UNITED sTATES DlSTRlCT couRT
oisTRlc f oF NEVADA

UNlTED STATES OF AMERICA,
Plaintiff`,

... ..

v. 2: l l-CR- l 66-LRH-(CWH)
DlPAK DESAl, M.D.,

Defendant

 

._-._»._¢
LI'AU

16

 

26 ll

 

 

 

FINAL ORDER OF FORFEITURE

This Court found that DlPAK DESAI, M.D., shall pay the criminal forfeiture moneyjudgment
of $2,213,550 in United States Currency, to be held jointly and severally liable with any codefendant,
pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section 982(a)(7); and
Title 21, United States Code, Section 853(p). Criminal Indictmcnt, ECF No. l; Change of Plea, ECF
No. 85; Plea Memorandum, ECF No. 86; Order of Forfeiture, ECF No. 89.

THEREFORE, lT lS HEREBY ORDE l D, AD.lUDGED, AND DECREED that the United
States recover from DlPAK DESAI, M.D., the rimina| forfeiture money judgment in the amount of
$2,213,550 in United States Currency pursuant ;to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Title 18,
United States Code, Section 982(a)(7); and Title 21, United States Code, Section 853(p).

DATED this . day of ` , 2015.

 

 

 

 

Case 2:11-Cr-00166-LRH-CWH Document 117 Filed 01/06/16 Page 8 of 21

'~._' _~__ '. '¢_" _. ...

A C Houston Lumber

A Company, lnc

A Health Markets Comp

A M Genera| LLC

AC l-louston Lumber Co

Ace Cab Company
ACEC/HealthPlan Services
Acordia

Administrative Concepts lnc
Administrative Enterprises
Advance Food Company

AE| Nlaster C|aims Account
Aetna Health

Aetna Life

Affiliated Clinical Research
AGA Nevada inc

A|addiri Resort and Casino
Albertsons Employees I-| & W Trust
Allied Bui|ding Materials

Allied Col|ection Services
Altius Health Plans
Amerencilco

American Administrative Group
American Benent Plan Admin
American Financial Solutions
American General Financial
American Group Administrators
American l-lotel Register
American Legend Cooperative
American Maritime Officers Med
American MedicalSecurity
American Nationa| Life lns
American Plan Adminstrators
American Progressive
American Republic insurance
AmericanBenefit Plan Adminisrators
Americn Republic

AmeriHealth

Ameristar Casinos lnc
Ameritain Health

AMR Corporation
Anheuser-Busch Emp Benefit Tr
Anthem

Anthem Blue Cross

'DEPAK'DESAI,` MID.'
2:11.cr-00166-LRH-CWH
Restitution List

66.27
617.40
130.26
257.01
194.53
43.80
289.20
161 .44
1,462.77
209.05
119.99
163.84
41 .440.09
6.355.78
61 .75
561 .85
668.10
884.87
589.99
881 .34
41 .20
178.22
187.13
3,101.13
30.92
26.81
58.10
36.26
109.64
29.00
451 .26
39.14
42.02
19.60
34.51
18.04
18.34
388.56
308.54
132.32
3,642.84
18.27
29,678.48

1,804.14

. n"~ '~.' ..

.~~=,~_'.-.

 

 

Case 2:11-Cr-00166-LRH-CWH Document 117 Filed 01/06/16 Page 9 of 21

'~~~- _.-- '~ "_-' _....

Apco Equipn'ient

A-Plus Benefits inc

APWU Health Plan

Arcadian Health Plan

Arch Coai

Arizona Pipe Trades

Arkansas Best Corp

Arkansas BlueCross BlueShieid
AUL

Auxiant

Avemco insurance Company
A-Z Credit Services-Trust
Badger Mining Company
Bakers Life and Casua|ty
Bakery and Confectionery Union
Bali State University

Bankers Life andCasualty
Barden Nevada Gaming
Bariey‘s Casino & Brewing
Barrick Gaming Operations
BAS Benefit Admin Systems
BC Life & Health

Beal Service Corp

Bechte| Nevada

Benefil Concepts

Benefit Plan

Benth Administrative Systems
Benefit Capital i-ioldings
Benefit Concepts inc

Benefit Plan

Benefit Planners Ltd

Benesight

Benicorp insurance Comp
Berry Piastics

Best Life and Health insurance
Beuford Schools

Big Lots Associate Benefit Plan
Bigeiow Management

Blood Systems inc

Blue Cross

Blue Cross Blue Shieid of Mich
Blue Cross BlueShieid of Caiifornia
Blue Cross BlueShield of illinois
Blue Cross BlueShield of Texas
Blue Cross of Caiifornia

'DEPAK'DESAI,` MTD.'
2:11-cr~00166-LRH-CWH
Restitution List

 

236.60
138.62
2,697.89
44.95
20.24
144.65
115.88
16.66
52.86
196.72
93.68
45.24
89.96
19.13
22.39

31 .80
436.10
13.53
82.99
363.21
91 .42
72.06
39.66
2,228.56
98.06
128.55
557.93
35.23
6.240.25
772.24
278.25
274.28
4,991.56
87.10
93.68
117.79
539.72
339.85
323.73
54.79
42.32
120.80
161 .35
81 .07
2,778.02

. ..'»~ '-.' ..

.'.a'_~~-.

 

 

 

Case 2:11-cr-00166-LRH-CWH Document 117 Filed 01/06/16 Page 10 of 21

\

vvsvv _...- vs vv-v~¢ _~ n c

Blue Cross of illinois

Blue Shield of Caiifornia
BlueCross Blue Shield of Oregon
BlueCross BlueShield of Aiabama
BlueCross BlueShield of illinois
BlueCross BlueShield of Kansas
BlueCross BlueShield of Mass
BlueCross BlueShield of Michigan
BlueCross BlueShield of Minnesota
BlueCross BlueShield of Niontana
BlueCross BlueShield of Nebraska
BlueCross BlueShield of New Mex
BlueCross BlueShield of Texas
BlueCross BlueShield of West NY
BlueShield of Caiifornia
Boiiermakers Nationai Health
Boulder City Hospitai Benefit Pi
Bowen Property Management
Boyd Gaming Personai Care System
BSS| Benefit

Buiider Cabinet Group

Butterfield Bank

C & A industries

C.R. Homes

CAi-iP Health Benefits Trust
Caiifornia ironworkers Fieid Weif
Caiifornia Pizza Kitchens
Caiifornia Vaiued Trust

CareMed international Travei
Carpenters Health and Security
CBA

CBCA Administrators

CDA Productions Las Vegas inc
Cernent Nlasons and Plasters
Central Locating Service Ltd
Central Reserve Life

Central States Southeast

Central Texas Health and Benth
Chickasaw Nation industries
Choice Fund HAS

Christian Fidelity

Chugach Aiaska Corp

Church of Jesus Christ of LDS
Cigna Group insurance
Cind-R-Lite Company

'D'EPAK'DESK|,` MTD.°
2:11-cr~00166-LRH-CWH
Restitution List

155.61
55.69
18.63
32.03

2,811.79
76.17
58.36

411.09

318.14
17.90
19.13
16.10

168.59
35.04
15.68

173.43
84.91

104.09

854.45

321 .14

281 .13

170.36

133.69
61 .75
41 .46

7,352.07

293.76
18.34

322.79

170.50

120.67

159.45

656.79

6,549.37

148.49

620.81

301 .96

125.47

139.86
41 .61
19.12

524.49
31 .19

684.90
93.68

~ nova vvrv n

-v

omvvvv¢-.

 

 

Case 2:11-cr-00166-LRH-CWH Document 117 Filed 01/06/16 Page 11 of 21

vmvv ~»¢-- ~.¢¢ vv-vv ... no o

Cirque du Soiie

City of independence Stayweii
City of Las Vegas Medicai Benefit
City of Stamford

City of Syracuse

Ciark County

Ciark County Firefighters Union
Ciark County. Nevada

Ciopay

CN|C Health Soiutions

Coast Benefits

Colonial Penn Life

Coiumbia Sussez
Commonweaith of Massachusetts
Comprehensive Care Services
Conetry Health Care
Connecticut Genera| Life ins
Construction industry & Laborers
Consumer Credit NFCC
Continentai Generai insurance
CoreSource. inc

Costco Whoiesa|e

Coventry Health Care of LA
CPC Logistics inc Medicai Acct
Credit Acceptance Corp

Ctr for Medicare Medicaid Services
Culinary Workers Health Fund
Cupertino Schooi Foundation
Customer Service international
Dan R Wagnon & Assoc

Dana Corporation

Darden Restaurants

Davisson Construction

Dawn Benefit Plan

Dawn Food Products

Definity Health

Deseret Mutuai

Desert ShadowEndoscopy
Diamond Resorts Emp

Diiiards inc

Directors Guiid of America
Disabied American Veterans
DJR

Dominican Community Support
Drive Time

'D'EPA`K'DESKI,` MTD.‘
2:11~cr~00166-LRH-CWH
Restitution List

1,033.27
121 .36
2,626.07
16.10
154.24
1,100.00
4,282.24
49,881.34
93.69
93.69
942.15
20.24
414.73
1,047.74
163.84
133.69
151 ,782.17
10,939.51
50.10
347.43
1,812.89
39.96
1,097.85
184.94
269.35
83,748.60
406,205.81
78.88

31 .47
434.77
16.10
510.02

61 .75
133.69
98.06
2,682.11
1,153.47
1,962.15
133.69
252.12
165.76
165.76
17.22
113.14
24.07

o ¢~v~c v~n v

uaw

. -=,~.»

eve

‘ o

 

Case 2:11-cr-00166-LRH-CWH Document 117 Filed 01/06/16 Page 12 of 21

vmvv _»_- va v~¢-vv _¢ n c

DS Health & Life ins

E B A & M Corporation

Eagie Scenic Airiines inc
Easter Seals

Eaton Corp

Ecker Enterprises inc

Eighth District Eiectricai Benefit
Ei Cortezi-lotei and Casino
Eiectricai Workers Health & Welfare
Elko County Schooi District
Emeraid City Arnbassadors. inc
Employee Benefit Plan Kids Qst
Employee Painters Trust
Employers insurance Group
Equitabie Life& Casuaity
Eugene Burger Management Corp
Everest Payroii Solutions

EZ Health Benefit Plan

Faciiity One Soiutions

Farmer Bros Co

FBA

FedEx Kinko‘s

Fiesta Paims LLC

First Health

FirstComp Underwriters

Fiserv Health

Food Employers and Bakery
Foresight Escrow

Fornaio America Corp

Fort Mojave indian Tribe

Fortis insurance Co

Four Queens Benefit Assoc
Garden Grove Unined Schooi Dist
GE Pensioner Ciaim Center
GEi-iA

Generai Dynamics Retirees
Generai Growth Mgt inc
Genworth Life and Health

GH| Group Health inc

Gilead

Giaziers, Architecturai Nietai
Giobe Life and Accident ins
Giopay

GNiS inc

Goiden Nugget-Las Vegas

"D'EPA`K'DESK|,` MTD.°
2:11-cr~00166-LRH-CWH
Restitution List

145.06
115.20
844.87
43.94
317.31
84.37
195.80
133.69
12,544.65
177.20
16.10
285.52
5.443.11
573.20
398.48
144.66
72.03
925.03
44.22
334.10
51 .07
102.21
5.200.07
85.533.65
173.43
66,513.66
133.69
78.88
217.66
130.27
351 .29
1,913.33
202.21
2,659.88
6,062.53
188.34
756.89
187.34
279.69
89.09
173.43
16.83
70.43
505.04
3.980.65

a mvv vv'~¢

u -v

cv\=,v~.¢v¢_.

 

 

Case 2:11-cr-00166-LRH-CWH Document 117 Filed 01/06/16 Page 13 of 21

_'~¢' _.-- -. '~-" _¢ ...

Goiden Ruie

Good Shepherd Healthcare
Goodman Manufactoring Comp
Great Piains Enterprises
Great-West i-ieaithcare

Green Vaiiey Ranch
Greensboro Service Center
Greystone Financial Group
Group Health inc

Group insurance Service Ctr
GSL Eiectric Health Plan
Guarantee Trust Life insurance
Guardian Life ins

Guess, inc.

Guitar Center

Guifstream Aerospace
i-iaiCrow inc

Harrahs Operating Comp
Harrison Eiectricai Workers Trust
i-iawaii Laborers Health

Hawaii Teamsters H&W
i-iaycock Petroieum

Health Care Support

HeaithNet

i-ieaithPartners

i-ierbai Works

Hertz Corp

i-iighmark Blue Shield

i-iiP insurance Company of NY
i-iometown Health Providers
Horace Mann Educated Financial
Horizon Blue Cross Blue Shield
Humana

i-iumana Goid Choice

Humbo|t County Schooi

iASiS Healthcare

iBEW Local 648

iBEW Local 995

iBEW-NECA Southwestern
idaho Pipe Trades Health

ideal Life insurance

ii Forriaio America Corp
iLWU-PMA Coastwise Ciaims Office
imperial Paiace

indiana Comprehensive Health

' DEPAK'DESAI,` MTD.'
2:11-cr-001 66-LRi-l-CWH
Restitution List

234.55
26.11
76.14

153.00

18,721.89
1,205.20

277.93

257.79

626.56

202.16

125.42

678.22

367.69

104.79

163.79

232.30

154.20

107.98

159.71
16.05

272.38
93.63
42.69

1,223.73

306.30
18.54

286.50

199.22

394.00

1,293.54
44.58
25.87

3,273.82

602.29
93.63

543.84

120.28

136.21
27.59

229.56
16.05

1,301.20

1,545.02

2,812.93
28.85

.~.°~'~»-.

Case 2:11-cr-00166-LRH-CWH Document 117 Filed 01/06/16 Page 14 of 21

"`“” "'*‘ "' ""'“ “"" "D'EPA`K'DESN,`MTD.‘ ' ""“ ""“""“ ' “”” ' "' "
2:11-cr-00166-LRH-CWH
Restitution List

 

initial Tropicai Piants 29.84
insurers Administrative Corp 140.74
interdent Service Corporation 347.23
international Medicai Group 144.60
J W Marriott Las Vegas 98.01
Jenny Craig 101 .44
John Aiden Life insurance Co 2,221.75
Joseph S. Webster Enterprises 128.91
JW Niarriott Las Vegas 399.06
Kaiser Permanente 381 .58
Kaiser-Hiii Company 139.93
Kammer Corp 88.42
KCG, inc 96.64
Kerr Mcgee Corp 301 .91
Kroger Heiping i-iands Fund 54.16
Kummer Kaempfer Bonner 66.22
Laboratory Medicine Consuitants 25.11
Laborers Nationai Health 585.83
Lafourche Parish Sch Board 57.68
Las Vegas Firefighters Health 2,931.80
Laticrete international 355.62
Liberty Niutuai 63.75
Life investors insurance 18.29
Lifi Ali Company 163.79
Lionel Sawyer & Coiiins Ltd 235.64
Local 804 Weifare Trust 163.79
Long Buiiding Technoiogies 165.70
Long Drug Stores 94.29
LPR Enterprises 44.57
Lumber Products inc 148.44
Lumenos 13,626.69
M&'|' Bank 77.46
Maii i-iandiers Benth Plan 1,330.43
Management Services 196.61
Mandaiay Resort Group 11,622.81
Mandara PSLV 23.39
l Niarsh Afiinity Group Services 20.19
i Masters Niates & Piiots Health 193.76
' McCrew Care Central 108.63
' McDonaid's Corporation 349.29
MCS Life insurance 317.26
Nieadow Vaiiey Contractors inc 114.46
Medica insurance Co 73.14
Medicai Ciaims Service inc 196.67
Medicai insurance Services 85.68

 

 

Case 2:11-cr-00166-LRH-CWH Document 117 Filed 01/06/16 Page 15 of 21

o nvv vvav u-v c uaw v va o o

vess-vw ~»-- ve vv*vv ~»¢ w c

"D`EPAT<'D'ESN,` MTD.‘
2:11-cr-001 66-LRH-CWH
Restitution List

Medicai Mutual 799.59
Medicai Reimbursement Plan 152.14
Medicare Payment 244.78
Mediversai, inc 1.656.83
Megalive Health insurance Comp 361 .47
Nieredith Corp 212.36
Nieriilat industries inc 196.67
Nletropolitan Life insurance 528.24
MGM Niirage 127,374.74
Micro-Beat inc. 41 .15
Micros Systems 182.97
Nlid-West Nationai Life ins 139.81
Miiwaukee Carpenters District Cnl 131 .17
Nlinden HealthNVeifare 145.63
Mission of Nevada 244.81
Nlississippi Lime Company 131 .17
Nlissouri Consoiidated Health Care 147.34
Nlitsubishi Cement Corp 243.26
Mitta| 76.09
Nlolina Healthcare of Nev 38.69
Nlolina Healthcare of Nevada 144.92
Moneytree inc Benefit Plan 182.97
Nionte Cario Resort and Casino 1.188.75
Nionurnentai Life insurance 22.28
Motoroia 14.30
NluitiNational Underwriters inc 1.787.39
Mutual of Omaha 396.25
Nationai Association of Letter Car 4,283.38
Nationai Automatic Sprink|er ind 561 .85
Nationai Claims Administrative 662.56
Nationai Elevator industry 38.19
Nationai Health insurance 92.53
Nationai Roofers Union 1,452.54
Nationai Rurai Eiectric Coop Assoc 478.95
Nationwide Health Plan 182.97
Nati Assoc of Letter Carriers 918.31
Nati Rurai Eiectric Cooperative 133.64
NEA Member Care 19.07
Neai 17.17
Nedco Suppiy 133.09
Nevada Power 108.08
Nevada Care 558.42
Nevada Care i-iNiO 318.63
Nevada Dept of Corrections 942.10
Nevada Health Soiutions 1,018.54

 

 

 

Case 2:11-cr-00166-LRH-CWH Document 117 Filed 01/06/16 Page 16 of 21

vv\~.¢v _._- ve vv-vv _¢ n o

Nevada Medicaid

Nevada Power

Nevada State Veterans Home
Nevadacare

Nevadacare Hmo

Nevadacare industrial
Nevada-Utah Conference C/O
Neveda Department of Corrections
Niii Neu & Associates
Nishimoto Trading Co Ltd

NL| America

Northern Nevada Operating Engr
Northwest Sheet Metai Workers
Nye County Schooi District
Odeil Associates

Oi-ii inc

Oi-iPi NY, inc

Oidsmar Service Center
Oiympus Corp

Oniine Resources Corp

OpBiz, LLC

Operating Engineers Local
Optimum Choice

P5 Health Plan Solutions
PACCAR

Pacinc Care

Pacinc Gas and Eiectric

Paciflc Life and Annuity
PacihCare

Paciflcare Health Plan
PacinCare Life and Health
Paciiicare Life Assurance Comp
Pacificare of Nevada

Pacificare Retiree Pians
Pacit”lccare

PaciticCare Life Assurance Comp
Paciflccare of Nevada

PA| Essentia| StaffCARE

Paims Casino Resort

Payroii Soiutions Employee Nled
Pensioned Heaith& Weifare
Peppermiii Casinos

PERCS Personai Care System
Performax

Personai Care System

'D'EPA`K'DESN,` NED.‘
2:11-cr-001 66-LRH-CWH
Restitution List

 

35,466.95
9,110.53
17.17
46,197.37
5.285.86
113.09
98.56
133.64
44.57
109.59
379.81
451 .54
163.79
3,422.93
98.01
757.08
225.86
109.58
27.44
490.88
188.45
24,966.36
148.44
866.56
148.44
198.83
343.96
917.35
40,750.01
6,050.61
1,159.09
3,958.19
271 ,167.24
16.61
20,551.70
236.68
752.73
163.79
3,009.63
1.088.92
174.23
278.89
585.83
139.81
884.76

a mvv vv'~¢

n_~.¢

¢v\=,vvv~-o

 

 

Case 2:11-cr-00166-LRH-CWH Document 117 Filed 01/06/16 Page 17 of 21

""' ""` " ' "' ' °` "' ' DEPKK UES'A[,`|\R.D.'
2:11 -cl'~00166-LRH-CWH

Physicians Mutual insurance Comp
Pipe industry Health & Weifare
Pipefitters Local 195

Pitsco inc

PN|CS

Poiy-America LP

PreferredOne Administratative
Premera

Prestige Care inc Employees Ben
Primedia inc

Primerica Financial Services
Principai Life insurance Co
Progressive Corp

Progressive Gaming international
Progressive Services inc
Promark Soiutions

Pronaia Capital Partners

PS Health Plan Soiutions

Pubiic Employee's Retirement
Pubiic Storage Mgmt

Puiiz Nloving & Storage

Quarter Circie H Ranch

Quezada Precast installations
Rebei Oii Company Emp Benefit
Regence BlueShield

Regence VaiueCare

Renai Care Group

Resource Management

Riverside Employer/Empioyee
RNiC Employee Benefits

Rocky Mountain i-iospitai

Saint Niarys Preferred Health
SAMBA Health Benefit Plan

San Jose Unified Schooi Dist
Schreck Brignone Employee Health
Screen Actors Guiid-Producers Health
Seafarers Health and Benet"lts
Secure i-iorizons Direct
selectheaith

Services Corporation

Shaw industries inc

Shcreck Brignone Employee Health
Sheet NietaiWorkers Health Plan
Sheii & Wiimer L.L.P.

Sierra Health & Life insurance C

Restitution List

 

65.92
19.08
108.97
125.42
657.44
671 .47
1,395.01
188.55
240.52
31 .14
62.73
4,916.09
258.75
444.11
18.38
25.94
72.66
727.10
112.12
110.91
197.77
19.91
202.15
149.40
615.34
43.57
237.23
93.63
277.55
19.08
737.83
437.02
473.69
317.26
244.63
700.93
163.79
957.99
148.44
178.18
131.17
54.85
2,660.61
133.64
2,180.42

10

..~.. ~~¢- ..

. ~~=- -~ -._.

 

 

Case 2:11-cr-00166-LRH-CWH Document 117 Filed 01/06/16 Page 18 of 21

Sierra Pacific Power Company
Silver State Materiais

Silver State Schools

Silver State Schools Credit Union
Sisc

Skiiied Healthcare

SN|

SNlE industries

SMW Local 104

Sneli & Wiimer LLP

Soiar industries Employees Ben
Sommer Properties

South Point i-iotei and Casino
Southern Caiifornia Drug Benefit
Southern Caiifornia Pipe Trades
Southern Caiifornia Pipet"itters
Southern Eiectricai Health Fund
Southpoint i-iotei and Casino
Southwest AG

Southwest Carpenters Health
Southwest Post Tension-2006
Southwest Truck & Traiier

SPC

Speciai Agents Mutual Benefit Plan
St Mary's Preferred

St Rose Dominican i-iospitai
Standard Life

Staniey Steemer

Star Nurserys inc

State Cornpensation ins Fund
State Farm Mutual Automobiie ins
State of Arizona Group Health
State of Caiifornia

State of Mississippi

State of Nevada

State of Nevada Pubiic Emp
State of Washington

State of Washington Uniform Med
State ofCaiifornia

Station Casinos inc

Steei Engineers, inc Health
Stephens Medicai Group
Steriing Life insurance Comp
Stewart Weifare Benefit Plan
Summeriin life and Health

' DEPAK DESA`[,`NI.DZ’
2:11 -cr-00166-LRi-i-CWH
Restitution List

 

393.99
810.01
137.75
19.91
16.05
115.28
19.07
93.63
312.46
320.00
561 .85
92.53
80.54
24.03
413.18
454.78
24.82
72.32

61 .70
11,137.60
93.63
78.83
84.31
246.57
499.78
3,482.29
30.20
255.54
665.78
88.91
149.96
133.64
1,005.75
21 .13
18.29
25,659.27
438.53
202.15
18.41
7,566.47
2,104.70
1,315.61
207.18
100.83
13,351.26

11

. .."¢ ".~ ..

_~

. -~3~ _- _.-.

 

 

Case 2:11-cr-00166-LRH-CWH Document 117 Filed 01/06/16 Page 19 of 21

vv~~v \_¢¢»- va vv-v~ _» \¢ ¢

Sun State Components
Superior Administrators inc
Swissport

TCB Piumbing

TCU-TN|A Health & Weifare
Teachers Health Trust
Teamsters & Food Employers Sec
Teansters Security Fund

Teck Comince American Medicai
Terracon Consuitants

Terribie Hurbst

Terribies Primm Vaiiey Resort
Texas Pipe Trades Health Ben
The Loornis Comp

The Atiantic Benefits Company
The Avatar Group

The Episcopai Church Medicai
The Guardiian

The Hartford

The Laramar Group

The Loomis Company/Benetits Div
The Nlega Life and Health

The Nationai Asbestos Workers
The Northern Trust Comp

The ODS Companies

The Painters Union insurance
The Reno Plan

The Reta Trust

The Riviera Operation Corp
The RJA Group inc

The Saivation Army

The United States Life insurance
The Venetian

The Waggonere Trucking
Thousand Traiis Benefit Plan
Time insurance Company
Timet Ciaims Trust Account
Title insuranceCompany

TLC i-ioidings

Tomrny Baharna Group

Tower

Town of Ramapo

TPA: CDS Group Health
Tricare Payment

Trident Plan Administrators

' DEPAK UES'A'i, M.D.‘
2:11-cr~00166-LRi-i-CWH
Restitution List

 

134.43
140.77
182.97
114.46
98.56
1.478.08
609.76
43,761.56
163.79
189.21
285.50
2,616.90
322.53
92.33
204.55
25.94
528.28
1,747.10
422.21
165.70
6,018.74
318.06
125.42
98.77
424.14
16.61
145.70
150.70
1,018.29
161 .39
106.23
202.15
38,465.55
202.15
163.79
3,224.36
34.31
76.09
139.81
566.65
115.28
46.14
271 .22
30,100.55
3,099.58

12

~ uv~¢ v~n v

n -\.¢

~~\Sv-_v¢‘~

Case 2:11-cr-00166-LRH-CWH Document 117 Filed 01/06/16 Page 20 of 21

o nv~¢ v~u~¢ n-v o mvv -v vs o o

v\»svv _¢-- ve vv-~~.r he n

‘ * DEPAK oEsA'r,M.o.‘
2:11-cr-oo166-l.Rl-l-cwl-l
MMM

Trivent Financial for Lutherans 26.50
Trustmarrk Life insurance 372.34
Tybrin Corporation 59.65
UFCW-Northern Caiif Health 19,960.42
Uknown 121 .31
UMG Recordings inc 89.04
UniCare Life & Health 1,603.62
Union Pacific Raiiroad Emp Health 1,242.24
Union Security insurance Comp 370.72
Unite Nationai Health Fund 7,805.60
United American insurance Co 1,315.12
United Brotherhood of Carpenters 270.67
United Food & Commericai 824.09
United Healthcare Service 148,274.87
United Medicai imaging 736.01
United Nationai Health Fund 259.42
United Rentai 109.76
United States Life ins 19.57
United Teacher Associates 36.49
United Worid Life 16.05
Universai Computer Systems 66.22
Universai Healthcare 892.94
University Health System 96.93
University of Caiifornia i-iigh Opt 20.56
University of Nevada Schooi 165.43
Upstage Productions 27.44
US Health and Life ins 26.62
US Raiiroad Retirement Fund 622.47
US Security Associates 301 .67
USAA Life insurance Co 81.11
USC Senior Care 15.98
USS Corporation 23.71
Utah-idaho Teamsters Security 237.24
VCA Antech 207.58
Vehicom Data 28.95
Vision Care i-ioidings 130.35
Vons EZ Healtthenefits 284.37
Vytra Health Pians 326.85
Wai Mart 196.47
Washoe County Group Health 409.34
Wausau Benefits inc 223.41
WEA insurance Corp 215.86
Weifare Fund of Teamsters 863 202.15
West Virginia Pipe Trade Health 182.97
Western Mutual insurance 203.25

13

 

 

 

Case 2:11-cr-00166-LRH-CWH Document 117 Filed 01/06/16 Page 21 of 21

v~\vv _~_- va vv¢~v an n o

Western Summit Constructors
Western Teamsters Weifare Trust
Wiiistaff Crystai inc

WMS Gaming inc

WPS Health insurance

WRG Design inc Healthcare
Writers Guiid industry Health
Wynn Resorts

Yamagata Corp

Yeiiow Checker Star

TOTAL;

7 DEPAK UESAI, `M.D.`

2:11 -cl'-00166-LRH-CWH

Restitution List

 

163.79
670.79
148.44
96.92
328.22
678.19
106.23
11,700.31
121 .31
159.60

2.213.550.00

14

o mvv

vv'v

n _v

¢“vv-.v¢-.

